                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

United States of America                         )
                     Plaintiff,                  )   Case No. 23-CR-00251-BCW
                                                 )
v.                                               )   Hon. Morris
                                                 )
Brian Aalbers                                    )
                       Defendant.                )

                       UNOPPOSED MOTION FOR CONTINUANCE

                Defendant in accordance with Rule 47, Fed. R. Crim. P., and Rule 7.1 (b) and (c)

of the Local Rules of Procedure for the United States District Court for the Western District of

Missouri, moves this Court, pursuant to 18 U.S.C. §3161(h)(7)(A) and (B), to consider removing

this case from the Joint Accelerated Criminal Jury Trial Docket scheduled February 12, 2024.

           SUGGESTIONS IN SUPPORT OF MOTION FOR CONTINUANCE

                1. November 15, 2023 a complaint was filed in the Western District of Missouri

charging defendant with the class B felony of attempted production of child pornography. (18

U.S.C. Sections 2251 (a) and (e)).

                2. November 20, 2023 undersigned entered his appearance.

                3. November 21, 2023 a preliminary hearing and detention hearing were held. It

was ordered that defendant remain in custody on this matter.

                4. November 28, 2023 an indictment was returned by a grand jury charging

defendant with both attempted production of child pornography and possession of child

pornography. The attempted production of child pornography is a B felony and possession of child

pornography is a C felony.

                5. A Joint Criminal Jury Trial Docket date was set February 12, 2024.

                6. Maureen Brackett, on behalf of the United States, was consulted and has no

objection to this motion, or the date requested below.

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               7. Defendant was consulted and has no objection to this motion.

               8. We are asking for another continuance via this motion to allow for the review

of new discovery.

               9. Ms. Brackett has been exceptionally diligent about getting discovery conveyed

to us in a timely fashion and keeping us apprised of new developments in that process.

               10. There is discovery that we still need to receive and review; thus, the need for

this motion.

               11. This continuance request has not been filed for the purpose of unnecessary

delay; rather, it was filed so that the accused may be afforded due process under the Fifth

Amendment to the United States Constitution. In accordance with 18 U.S.C. §3161(h)(7)(A) and

(B)(iv), it is also submitted that the above-stated reasons for a continuance outweigh the best

interests of the public and the right to a speedy trial, required by 18 U.S.C. §3161(c)(1).

               12. Also, under the provisions of 18 U.S.C. §3161(h)(7)(A), the period of time until

the next criminal docket should be excluded in computing the period of time in which the accused

should be brought to trial under the provisions of the Speedy Trial Act. United States v. Van

Someren, 118 F.3d 1214, 1218-19 (8th Cir. 1997).

               WHEREFORE, the accused respectfully requests this Court, pursuant to 18 U.S.C.

§3161(h)(8)(A) and (B), continue this matter to the June 3, 2024 joint criminal jury trial docket.



                                                  Respectfully,

                                                   /s/ Gregory N. Watt
                                                  Gregory N. Watt, Bar No. 26146/60493
                                                  The Watt Law Firm/Attorney for Def.
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                               CERTIFICATE OF SERVICE:

       I certify that on this __8__ day of ______Jan._____, 2024 a copy of the above was sent via

the CM/ECF system to all interested parties.

/s/ Gregory N. Watt, Attorney for Defendant




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